         1                                                                             HONORABLE BRIAN D. LYNCH

         2
                                                         HEARING DATE: WEDNESDAY, DECEMBER 18, 2019
         3                                               HEARING TIME: 9:00 A.M.
                                                         LOCATION: TACOMA, COURTROOM I
         4                                               RESPONSE DATE: WEDNESDAY, DECEMBER 11, 2019

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         8                                      UNITED STATES BANKRUPTCY COURT
                                                WESTERN DISTRICT OF WASHINGTON
         9
                 In re
       10                                                                    No. 18-41324-BDL
                 PUGLIA ENGINEERING, INC.,
       11                                                                    FIRST AND FINAL APPLICATION FOR
                                                  Debtor.                    COMPENSATION BY BUSH
       12                                                                    KORNFELD LLP

       13                   Bush Kornfeld LLP (“Bush Kornfeld”), attorneys for Puglia Engineering, Inc. (“Debtor”),

       14        debtor-in-possession herein, makes this first and final application (“Application”) for compensation in

       15        the above-captioned bankruptcy case (the “Bankruptcy Case”).

       16                   Bush Kornfeld respectfully requests that the Court enter a final order allowing Bush

       17        Kornfeld’s attorneys’ fees and costs for the time period of April 14, 2018 through November 22, 2019

       18        in the respective amounts of $361,593.00 and $8399.22. Of this, $180,705.85, comprised of

       19        $173,620.80 in fees and $7,085.05 in costs has been paid pursuant to this Court’s Order Approving

       20        Interim Payment Procedures (“Interim Payment Procedures Order”) (Dkt. No. 345). Bush Kornfeld

       21        further requests entry of an order directing disbursement of Bush Kornfeld’s pro rata share of funds in

       22        the Approved Carveout for Chapter 11 Professional Fees and Costs, as those terms are defined and

       23        used in this Court’s Order Authorizing Disbursement of Cash Collateral (Dkt. 807).

                                                                                               B USH K ORNFELD            LLP
                   FIRST AND FINAL APPLICATION FOR COMPENSATION                                         LAW OFFICES
                   BY BUSH KORNFELD LLP – Page 1                                                   601 Union St., Suite 5000
                                                                                                Seattle, Washington 98101-2373
                                                                                                   Telephone (206) 292-2110
                                                                                                   Facsimile (206) 292-2104
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         1                  Attached hereto as Exhibit A is a detailed account of the services provided and costs incurred

         2       or to be incurred by Bush Kornfeld in this case from April 14, 2018 through November 22, 2019.

         3                  In support of this Application, Bush Kornfeld represents as follows:

         4                  1.     Date of Order Authorizing Employment. The Court appointed Bush Kornfeld as

         5       Debtor’s counsel effective May 15, 2018 (Docket No. 149).

         6                  2.     Compensation and Reimbursements Previously Allowed and Paid. This is Bush

         7       Kornfeld’s first application for compensation. The amount of $180,705.90 has already been paid

         8       pursuant to the Interim Payment Procedures Order. This Application seeks final approval of those

         9       payments and approval of payment of the remaining, unpaid fees and costs.

       10                   3.     Amount of Unencumbered Funds in the Estate and Source of Payment for Requested

       11        Compensation. As of the date hereof, Bush Kornfeld held approximately $1,115.50 in its trust

       12        account. In addition, there is a court-approved carve-out in the amount of $95,000 from which

       13        professional fees and costs will be paid.

       14                   4.     Other Professionals Whose Employment Has Been Authorized. In addition to Bush

       15        Kornfeld, the Court authorized the employment of the following professionals in the Chapter 11 case:

       16                    Professional           Representing               Role          Approval Date       Docket No.
                       Bush Kornfeld LLP            Puglia              Bankruptcy              05/15/18            149
       17                                                               Counsel
                       CKR LLP                      Committee           Lead Counsel            08/02/18              344
       18              Commenda Asset               Puglia              Investment banker       02/15/19              524
                       Resolution Partners, LLC
       19              DBS                          Committee           Local Counsel           05/31/18              219
                       Larson Gross PLLC            Puglia              Accountants             07/16/18              312
       20              McKool Smith                 Committee           Litigation Counsel      07/26/18              333
                       Orse and Company             Puglia              Financial Advisor       07/20/18              324
       21
                       Seyfarth Shaw LLP            San Francisco       Special Counsel         02/14/19              522
                                                    Ship Repair, Inc.
       22
                       The Tracy Law Group          San Francisco       Bankruptcy counsel      06/08/18              242
                                                    Ship Repair, Inc.
       23

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                                                                                                     Seattle, Washington 98101-2373
                                                                                                        Telephone (206) 292-2110
                                                                                                        Facsimile (206) 292-2104
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         1                    Professional         Representing            Role           Approval Date       Docket No.
                       Thorson Barnett &           Puglia           Special Counsel for      08/17/18            355
         2             McDonald PC                                  ERISA matters

         3                  5.     Summary of Services Provided, Result and Benefit to the Estate.

         4                  Following is a summary of the time and fees associated with each category of services that

         5       Bush Kornfeld provided during the case from January 1, 2018 projected through the close of the case.

         6         Name of Timekeeper                       Initials    Hourly Billing Rate
                   Thomas A. Buford                         TAB                                                $340
         7         James L. Day                             JLD                                                $510
                   Aditi Paranjpye                          AP                                                 $325
         8         Christine Tobin-Presser                  CMT                                                $350
         9                          CATEGORIES                            TOTAL                  TOTAL
                                                                          HOURS                 DOLLARS
       10
                   Claims Analysis and Objections to Claims                     3.70                 1,887.00
                   Contested Matters                                           14.80                 7,497.00
       11
                   Contract/Lease Assumption/Rejection                          8.40                 4,284.00
       12          Disclosure Statement and Plan Process                      108.90                51,705.00
                   Employment and Fee Application Objections                     .50                   255.00
       13          Fees                                                        16.30                 8,185.00
                   Financing and Cash Collateral                               34.80                16,592.00
       14          General Administration                                      59.80                22,083.00
                   Relief from Stay                                              .30                   153.00
       15          Sales of Assets                                             64.50                31,926.00

       16                   Bush Kornfeld provided a variety of services during the time period covered by this

       17        Application, the details of which are set forth in the attorney time records attached hereto. A narrative

       18        summary of those services follows.

       19                   a.     Plan and Disclosure Statement. Bush Kornfeld spent significant time working with the

       20        client to discuss, develop and prepare a confirmable plan of reorganization and an accompanying

       21        disclosure statement. Bush Kornfeld worked closely with the debtor and its financial advisor to

       22        prepare financial projections to support the proposed plan payments. Bush Kornfeld also researched

       23        the legal distinction between a true lease and a financing transaction, as it believed that one creditor

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                                                                                                     Facsimile (206) 292-2104
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         1       whose claim was nominally based upon a lease, was actually a secured financing transaction. The

         2       distinction allowed the claim to be classified in a manner that was more manageable under the plan.

         3       During the process, Bush Kornfeld also spent significant time seeking to negotiate the terms of an

         4       agreed plan with both Washington Federal, the primary secured creditor in this case, and the

         5       Unsecured Creditors Committee (the “Committee”).

         6                  Eventually, Bush Kornfeld filed a proposed plan and disclosure statement that would have

         7       permitted the Debtor to maintain its operations, continue to employ 70-80 worker, while repaying all

         8       secured and priority claims in full and returning some dividend to unsecured creditors. The plan

         9       would have created a creditor trust, into which various estate assets would have been assigned for

       10        liquidation by a post-confirmation trustee, with the proceeds being distributed to unsecured creditors.

       11        Unfortunately, the Debtor’s operations could no longer be sustained, the case was converted and

       12        creditors were not given the opportunity to actually vote on the proposed plan.

       13                   b.     Sale Process. Bush Kornfeld also spent significant time in connection with a process

       14        seeking a buyer for the Debtor as a going concern. Bush Kornfeld worked with the Debtor and

       15        counsel for the Committee in identifying and interviewing multiple firms as candidates to conduct the

       16        sale process on the Debtor’ behalf. Ultimately, the Debtor selected Commenda Capital as its sales

       17        agent. Thereafter, Bush Kornfeld worked closely with representatives of Commenda on the sale

       18        process, prepared a non-disclosure agreement for interested buyers to execute, and worked with

       19        Commenda representatives on due diligence materials. Bush Kornfeld also drafted proposed bid

       20        procedures and a form of an asset purchase agreement for buyers to utilize. Bush Kornfeld also

       21        researched the possible claims the various pension funds could assert if a sale caused a complete

       22        withdrawal from the fund, including whether any could successfully assert an administrative expense

       23        claim. Along the way, Bush Kornfeld participated in numerous calls with prospective buyers, and led

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         1       negotiations with Washington Federal seeking its approval for an offer from one of the buyers that

         2       would have allowed the Debtor to remain a going concern. Unfortunately, the bank declined the

         3       proposed offer, and a sale could not be consummated prior to the cessation of the Debtor’s operations.

         4                  c.   Port of Bellingham Lease. During the same period of time, Bush Kornfeld worked

         5       closely with the Debtor and representatives of the Port of Bellingham to obtain voluntary extensions

         6       of the time within which to assume or reject the lease of the debtors operating premises. Maintenance

         7       of the lease was critical to the Debtor’s continued operations, and Bush Kornfeld worked diligently

         8       with Port representatives to maintain the ability to assume the lease all the way up through the time a

         9       trustee was appointed and took over the management of the case.

       10                   d.   Cash Collateral Use. Also during this time, Bush Kornfeld worked with the debtor and

       11        its financial advisor, and representatives of Washington Federal, to extend the Debtor’s right to

       12        continue to use cash collateral. Later, the negotiations included representatives of the company that

       13        was bonding a job as to which Pierce County was the customer. These efforts were successful, as the

       14        Debtor continue to be authorized to use cash collateral through the appointment of chapter 11 trustee.

       15                   e.   Response to Motion to Convert/Dismiss. Bush Kornfeld also filed a response to U.S.

       16        Trustee’s motion to convert or dismiss the case, on the basis that cause did not exist for such drastic

       17        relief and would not be in the best interests of creditors. At the time, the Debtor still believed that it

       18        could maintain operations going forward. After a hearing and discussions with the principal parties,

       19        on behalf of the Debtor Bush Kornfeld agreed to entry of an order for appointment of a chapter 11

       20        trustee.

       21                   6.   Financial Condition of the Estate. Bush Kornfeld has not been aware of the financial

       22        condition of the estate following the appointment of the chapter 11 trustee and the subsequent

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                                                                                                 Seattle, Washington 98101-2373
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         1       conversion of the case. However, Bush Kornfeld participated in settlement discussions with

         2       Washington Federal that led to the fixing of a carve-out for chapter 11 professional fees of $95,000.

         3                  7.     Status and Progress of Case. On March 20, 2019, David Stapleton (the “Trustee”) was

         4       appointed as Chapter 11 trustee. Docket No. 587. On March 28, 2019, the Bankruptcy Case was

         5       converted to a case under Chapter 7. Docket No. 625. Future tasks and projection of future fees and

         6       expenses will be identified by the Trustee.

         7                  8.     Tasks Remaining and Projection of Future Fees and Expenses. See Section 7, above.

         8                  9.     The services provided and costs incurred on Exhibit A were performed on behalf of the

         9       Debtor and its Estate and not on behalf of a creditor or other entity herein.

       10                   10.    Pursuant to 11 U.S.C. § 504, Bush Kornfeld will not share such compensation or

       11        reimbursement of expenses applied for herein with any other person or firm.

       12                   DATED this 25th day of November, 2019.

       13                                                               BUSH KORNFELD LLP

       14                                                               By /s/ James L. Day
                                                                         James L. Day, WSBA #20474
       15                                                                Thomas A. Buford, WSBA #52969
                                                                         Christine M. Tobin-Presser, WSBA #27628
       16                                                                Aditi Paranjpye, WSBA #53001
                                                                        Attorneys for Puglia Engineering, Inc.
       17
                                                            DECLARATION
       18
                            I am a partner at the law firm of Bush Kornfeld LLP, and am one of the attorneys responsible
       19
                 for the representation of the Debtors in the above-captioned proceeding. I have personal knowledge
       20
                 of the facts stated herein, and am competent to testify to them. I make this declaration in conformance
       21
                 with applicable sections of the Bankruptcy Code and Bankruptcy Rules, and Rule 2016 of the Local
       22
                 Rules of Bankruptcy Procedure.
       23

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         1                  I declare under penalty of perjury under the laws of the State of Washington that the foregoing

         2       is true and correct.

         3                  DATED this 25th day of November, 2019.

         4
                                                                 /s/ James L. Day
         5                                                       James L. Day

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